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1                       IN THE UNITED STATES DISTRICT COURT
2                          SOUTHERN DISTRICT OF NEW YORK
3
4       NICHOLAS PARKER, on behalf
        of himself and all others
5       similarly situated,
                          Plaintiffs,
6
        v.                                                 Civil Action No.
7                                                          17-cv-5353-GBD
        UNITED INDUSTRIES CORPORATION,
8                         Defendant.
9                                 ~~~~~~~~~~~~~~~~~
10                              30(b)(6) Deposition of
11                  DEFENDANT UNITED INDUSTRIES CORPORATION
12                            (Witness:       KATHY CEARNAL)
13
                        (Volume I, Non-Confidential Section)
14
15                                December 20, 2018
16                                      10:10 A.M.
17
18                                       Taken at:
19                               Gore/Perry Veritext
20                           515 Olive Street, Suite 300
21                               St. Louis, Missouri
22
23                                 Reported by:
24                             J. Bryan Jordan, CCR-MO
25

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1       APPEARANCES:
2
3       On behalf of the Plaintiff(s):
4               Bursor & Fisher, P.A., by
5                       Yitzchak Kopel, Esq. (Via video)
6                       Alec Leslie, Esq.
7                       888 7th Avenue
8                       New York, NY 10019
9                       (646) 837-7150 Phone
10                      (212) 989-9163 Fax
11                      ykopel@bursor.com
12                      aleslie@bursor.com
13
14      On behalf of the Defendant:
15              Tucker & Ellis, LLP, by
16                      Ms. Ronie M. Schmelz, Esq.
17                      515 South Flower Street
18                      Forty-Second Floor
19                      Los Angeeles, CA          90071-2223
20                      (213) 430-3375
21                      (213) 430-3409 Fax
22                      ronie.schmelz@tuckerellis.com
23
24      THE VIDEOGRAPHER:
25                      Patrick Hoctor

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1                       THE VIDEOGRAPHER:       We are now on the record.
2       Please note that the microphones are sensitive and may
3       pick up whispering and private conversations.
4                       Please turn off all cell phones or place
5       them away from the microphones, as they can interfere
6       with the deposition audio.
7                       Recording will continue until all parties
8       agree to go off the record.
9                       My name is Patrick Hoctor, representing
10      Veritext.        The date today is December 20th, 2018, and
11      the time is approximately 10:10 A.M.                   This deposition
12      is being held at GorePerry Veritext, located at 515
13      Olive Street, St. Louis, Missouri.
14                      The caption of the case is Nicholas Parker
15      v. United Industries Corp.            This case is being held in
16      the U.S. District Court, Southern District of New
17      York, Case Number 17-cv-5353-GBD.                   The name of the
18      witness is Kathy Cearnal.
19                      At this time, attorneys present in the room
20      and everyone attending remotely will identify
21      themselves and the parties they represent.
22                      MR. KOPEL:     Hitzchak Kopel, Bursor & Fisher,
23      for Plaintiffs.        I'm attending remotely. Joining me in
24      the room is Alec Leslie, my colleague.
25                      MS. SCHMELZ:    Ronnie Schmelz of Tucker

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1       Ellis, on behalf of Defendant.
2                       THE VIDEOGRAPHER:       Thank you, Counsel, our
3       court reporter, Mr. Jordan, representing Veritext,
4       will swear in the witness and we can proceed.
5                                    KATHY CEARNAL,
6       of lawful age, having been first duly sworn to testify
7       the truth, the whole truth, and nothing but the truth
8       in the case aforesaid, deposes and says in reply to
9       oral interrogatories propounded as follows, to-wit:
10                                     EXAMINATION
11      QUESTIONS BY MR. KOPEL
12             Q.       Good morning, Ms. Cearnal.
13             A.       Good morning.
14             Q.       Can you, please, state your name and address
15      for the record?
16             A.       Kathy Cearnal, 1504 Woodside Hills Drive,
17      St. Peters, Missouri, 63376.
18             Q.       Thank you.     Is that your home address?
19             A.       Yes, it is.
20             Q.       Let me please introduce myself.         My name is
21      Yitzchak Kopel.        I'm a lawyer.         I represent the
22      Plaintiff in a class action lawsuit against United
23      Industries Corporation.           I'm going to be asking you
24      some questions today in connection with that lawsuit.
25      Do you understand that?

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1              A.       Yes.
2              Q.       Moving on, it says, "If you'd prefer a
3       plant-based alternative, try oil of lemon eucalyptus
4       instead.        It's the only active botanical ingredient
5       recommended by the Centers For Disease Control to
6       repel mosquitoes."        Do you see that?
7              A.       Yes.
8              Q.       Would--is geraniol a plant-based alternative
9       to DEET?
10             A.       Geranium oil is simil--geraniol is similar
11      to gerani--geranium oil.           Geraniol, itself, though, is
12      often synthesized, not extracted from a plant.
13             Q.       Is the geraniol used in Cutter Natural
14      Insect Repellant synthesized?
15             A.       To an extent, yes.
16             Q.       Is the geraniol used in Cutter Natural
17      Insect Repellant natural?
18                      MS. SCHMELZ:    Object to form; calls for
19      speculation, lacks foundation.
20             A.       There is no specific guidelines for how you
21      call out "natural" in terms of an insect repellent
22      ingredient.
23      BY MR. KOPEL:
24             Q.       Do--does the word "natural" have a meaning
25      to you, personally?

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1                       MS. SCHMELZ:    Object to form:
2                       MR. KOPEL:     Let me rephrase the question.
3       BY MR. KOPEL:
4              Q.       Does the word "natural" have a meaning to
5       you, personally, in the context of a consumer product?
6                       MS. SCHMELZ:    Object to form; overbroad.
7       Any consumer product?
8                       MR. KOPEL:     If a clarification is required,
9       the witness is welcome to ask for it.
10                      MS. SCHMELZ:    You can answer if you
11      understand the question.
12             A.       So based on my understanding, the only place
13      where you can truly talk about "natural" in terms of a
14      consumer product has to do with things that are
15      regulated by the USDA.          They have specific definitions
16      of what means natural for those types of products.
17      There is not a specific definition in the insect
18      repellent world.
19      BY MR. KOPEL:
20             Q.       Does the word "natural" in the name Cutter
21      Natural Insect Repellant, does that word, "Natural,"
22      have any meaning?
23                      MS. SCHMELZ:    Object to form.
24             A.       The classification of Cutter Natural Insect
25      Repellent as a 25B alternative allows us to make the

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1       statement and call it natural.
2       BY MR. KOPEL:
3               Q.      Is oil of lemon eucalyptus, is that
4       synthesized, as well?
5                       MS. SCHMELZ:      Object to form; calls for
6       speculation.
7               A.      It is extracted from eucalyptus citriodora
8       trees.
9               Q.      Is there any sort of plant-based extraction
10      when it comes to the geraniol used in Cutter Natural
11      Insect Repellent?
12                      MS. SCHMELZ:      I'm sorry, could you read that
13      back?
14                      THE COURT REPORTER:          (Reading back)
15                          "Q:    Is there any sort of plant-based
16      extraction when it comes to the geraniol used in
17      Cutter Natural Insect Repellent?"
18                      MS. SCHMELZ:      Object to form; calls for
19      speculation, lacks foundation.
20              A.      I am not familiar with the entire process
21      for producing geraniol.
22      BY MR. KOPEL:
23              Q.      Now, the Cutter website made two
24      recommendations.          One was DEET, and then as an
25      alternative to DEET, it also recommended oil of lemon

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1       eucalyptus; is that correct?
2                       MS. SCHMELZ:     Object to form; misstates the
3       document.
4              A.       The document states that repellents that
5       contain DEET are recommended by the National Institute
6       of Health, and then there's a statement, "If you
7       prefer a plant-based alternative, try oil of lemon
8       eucalyptus."
9       BY MR. KOPEL:
10             Q.       And Cutter has products that contain DEET;
11      correct?
12             A.       Yes.
13             Q.       Cutter has personal repellent products that
14      contain oil of lemon eucalyptus, or at least one;
15      correct?
16             A.       Yes.
17             Q.       Was geraniol, or Cutter Natural Insect
18      Repellant, included in Cutter's anti-bite field guide?
19                      MS. SCHMELZ:     Object to form.    In this
20      document?        Is that the question?
21                      MR. KOPEL:     Yes.
22             A.       It is not mentioned in this document.
23      BY MR. KOPEL:
24             Q.       Do you know why not?
25             A.       I didn't write the document, so I don't know

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1       please mark this document as Exhibit 32 and hand it to
2       the witness.
3                           (Plaintiff's Exhibit 32
4                           marked for identification.)
5                       MS. SCHMELZ:     I'm going to ask that from
6       this point forward, we start marking the transcript as
7       highly confidential, pursuant to the terms of the
8       protective order.
9                       MS. SCHMELZ:     Okay?
10                      MR. KOPEL:     Yes, that's fine.
11                          (HIGHLY CONFIDENTIAL SECTION, SUBJECT
12                          TO PROTECTIVE ORDER, BEGINS ON
13                          FOLLOWING PAGE.)
14
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   EXHIBIT F
(remaining pages
 have been filed
   under seal)
